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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §               Case No: 2:15-cv-01643-JRG-RSP
                                    §
vs.                                 §               LEAD CASE
                                    §
SPRINT COMMUNICATIONS               §
COMPANY, L.P.                       §
                                    §
      Defendant.                    §
____________________________________§


                UNOPPOSED MOTION TO DISMISS DEFENDANT
        SPRINT COMMUNCATIONS COMPANY, L.P. WITHOUT PREJUDICE


       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Rothschild
Connected Devices Innovations, LLC (“Rothschild”) files this Unopposed Motion to Dismiss
Defendant Sprint Communications Company, L.P. Without Prejudice.
       Wherefore, Rothschild moves this Court to dismiss this action and all claims by Rothschild
against Sprint Communications Company, L.P., without prejudice, with each party to bear its own
costs, attorney’s fees and other litigation expenses and request that the Court enter the proposed
order of dismissal submitted herewith.
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Dated: December 18, 2015                        Respectfully submitted,
                                                /s/ Jay Johnson
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                                                ATTORNEYS FOR PLAINTIFF


                                CERTIFICATE OF CONFERENCE

The undersigned certifies that on December 18, 2015, counsel for Plaintiff met and conferred with counsel
for Defendant and that counsel for Defendant agreed to the motion.

                                                /s/ Jay Johnson
                                                Jay Johnson

                                    CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on
December 18, 2015.

                                                /s/ Jay Johnson
                                                Jay Johnson
